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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

TIMOTHY J. DUGLE,                                  )
                                                   )
                     Plaintiff,                    )
                                                   )
       v.                                          )      3:05-CV-102 AS
                                                   )
DURO, INC., DURO RECYCLING, INC.,                  )
DURO REALTY, INC., and DURO                        )
TRANSPORT, INC.,                                   )
                                                   )
                     Defendants.                   )


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Defendants, Duro, Inc., Duro Recycling, Inc.,

Duro Reality, Inc., and Duro Transport, Inc.’s (collectively “Duro” or “corporations”)

Amended Motion to Dismiss (Docket No. 46) filed on November 6, 2006. Duro filed the

Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(1) requesting this Court to dismiss

the action on the basis that no subject matter jurisdiction exists. On November 30, 2006,

Plaintiff Timothy J. Dugle (“Dugle”) filed a Memorandum in Opposition to Motion to

Dismiss (Docket No. 47), to which Duro replied on December 15, 2006 (Docket No. 49).

Oral arguments were heard on the motion in South Bend, Indiana on January 16, 2007,

and the issue has been fully briefed.

                              I. STANDARD OF REVIEW

       Fed. R. Civ. P. 12(b)(1) and (h)(3) authorize the court to dismiss claims for lack of

subject matter jurisdiction. If a plaintiff cannot establish subject matter jurisdiction then
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relief from this court is not possible, and a dismissal under Fed. R. Civ. P. 12(b)(1) is the

appropriate disposition. See United Transp. Union v. Gateway Western Ry. Co., 78 F.3d

1208, 1210 (7th Cir. 1996) (citations omitted); In re Chicago, Rock Island & Pacific R.R.

Co., 794 F.2d 1182, 1188 (7th Cir. 1986) (holding that jurisdiction is the “power to

decide” and must be conferred upon a federal court, not assumed).

       In ruling on a motion to dismiss under Fed. R. Civ. P. 12(b)(1) for want of subject

matter jurisdiction, the district court must accept the complaint’s well-pleaded factual

allegations as true, drawing all reasonable inferences therefrom in the plaintiff’s favor.

United Transp. Union, 78 F.3d at 1210 (citations omitted). The plaintiff, as the party

invoking federal jurisdiction, bears the burden of establishing that the jurisdiction

requirements have been met. Kontos v. United States Dept. Of Labor, 826 F.2d 573, 576

(7th Cir. 1987) (citations omitted). In reviewing a Rule 12(b)(1) motion to dismiss, the

Court may look beyond the complaint and review any extraneous evidence submitted by

the parties to determine whether subject matter jurisdiction exits. United Transp. Union,

78 F.3d at 1210 (other citations omitted).

       With these legal principals in mind, the Court now turns to the instant motion.

                             II. FACTUAL BACKGROUND

       On February 18, 2005, Plaintiff, Timothy J. Dugle, a resident of Elkhart County,

Indiana, filed his “Complaint for Declaratory Relief” against the Duro Defendants, all

Indiana corporations with principal places of business in Elkhart, Indiana. Complaint at



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¶¶ 2-6. The complaint alleges that the “action arises under the Clayton Antitrust

Improvements Act of 1946.” Complaint at ¶ 1. On September 10, 2004, Dugle was a

shareholder in each of the Defendant corporations, when he entered into an agreement

with Andrew Shah to sell a large portion of his stock in each of the corporations.

Complaint at ¶¶ 7-8. Pursuant to the agreement with Andrew Shah, Dugle demanded that

the corporations honor the conveyance and transfer and issue stock in the name of

Andrew Shah. Complaint at ¶ 9. On November 24, 2004, each of the corporations,

through their attorney, advised Dugle that the corporations were deeming the said sale

and conveyance of stock by Dugle to Mr. Shah null, void, illegal or against public policy

pursuant to the Clayton Antitrust Improvements Act of 1946 and for “other reasons.”

Complaint at ¶¶ 10-11, Exhibit A. Dugle alleges that the Clayton Antitrust Improvements

Act of 1946, “nor any of the other reasons” raised by the corporations, would prevent or

preclude the corporations from approving and validating the said sale and conveyance of

stock, and issuing stock in the name of Andrew Shah, “pursuant to the said agreement.”

Complaint at ¶ 12. Therefore, because the parties “cannot agree as to whether or not the

respective corporations should issue stock in the name of Andrew Shah,” Dugle demands

that this Court, among other things, declare that the corporations are not “entitled to deem

the sale of stock by the Plaintiff to Andrew Shah in each of the Defendant corporations as

null, void, illegal or against public policy based on the Clayton Antitrust Improvements

Act of 1946 or any other reason whatsoever” and, order the corporations to “issue stock to



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the said Andrew Shah, in conformity with the provisions of the agreement between the

Plaintiff and Andrew Shah.” Complaint at ¶¶ 13, 13a, and 13b. On November 24, 2004,

Duro’s counsel sent a letter to Dugle and Mr. Shah, in which Duro raised several state law

concerns, such as fiduciary duties, Indiana state trade secrets and antitrust laws, and a

federal law concern relating to the Clayton Act’s prohibition on anti-competitive

acquisitions of stock. Complaint, Exhibit A. Further, Duro indicated that it was

concerned as to Mr. Shah’s connection with Duro’s competitor, Global Group, Inc. Id.

The letter requested additional information in order for Duro to confirm that the proposed

transaction is not void, null, illegal, or against public policy. Id.

                                     III. DISCUSSION

       Defendant Duro argues that since this is a declaratory judgment action, it is

pertinent to note that as explained in Skelly Oil Co. v. Phillips Petroleum, 339 U.S. 667,

671 (1950), the Declaratory Judgment Act confers no additional jurisdiction upon the

federal courts. Therefore, the well-pleaded complaint rule of pleading federal question

jurisdiction is applied. Duro suggests that Plaintiff Dugle’s basis for subject matter

jurisdiction is not well-pleaded, because it is based solely on an anticipated defense.

Duro relies on City of Chicago v. Comcast Cable Holdings, L.L.C., 384 F.3d 901, 904

(7th Cir. 2004) in support of the proposition that if the sole basis for federal question

jurisdiction are the anticipated or probable defenses of the defendants, then a federal court

is precluded from taking subject matter jurisdiction. Duro argues that the alleged contract



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for the sale of stock is purely governed by state law, but Duro’s explicit concerns

regarding the transaction were anticipated defenses which included both state law issues

and a concern with regard to federal law. Therefore, Dugle’s anticipation of Duro’s

anticipated federal defense based on federal law, the Clayton Act, cannot be used to

invoke the court’s jurisdiction in the context of a declaratory judgment action. Morever,

Duro argues that the anticipated federal defense relating to anti-competitive acquisitions

of stock under the Clayton Act, is one which does not occupy the field so as to place this

lawsuit in the category of “complete preemption”, as discussed in Vorhees v. Naper Aero

Club, Inc., 272 F.3d 398, 402 (7th Cir. 2001). Therefore, Duro argues that there is no

subject matter jurisdiction and the matter must be dismissed.

       Plaintiff Dugle asserts that federal courts have considerable discretion in

determining whether to resolve the rights of litigants under the Declaratory Judgment Act,

as stated in Pence v. Lighting Rod Mut. Ins. Co., 203 F.Supp.2d 1025 (S.D.Ind. 2002)

(citing Wilton v. Seven Falls Co., 515 U.S. 277 (1995)). Dugle argues that this Court may

properly exercise subject matter jurisdiction where a federal question can be determined

from the face of the complaint. Here, Dugle contends that where Duro admitted that the

sale and transfer of stock is null, void, illegal or against public policy pursuant to the

Clayton Act, this established the question of whether the sale and transfer violates federal

law, which confers subject matter jurisdiction on this Court to determine the same. In

support of the proposition, Plaintiff Dugle relies on Turner/Ozanne v. Hymann/Power,



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111 F.3d 1312 (7th Cir. 1997), where the Court held that it had jurisdiction to make a

determination regarding whether a construction manager was entitled to relief in an

indemnity portion of a contract as it related to federal law. Dugle further contends that

litigants engaged in federal contractual disputes may seek relief in federal court under the

Declaratory Judgment Act, and therefore this Court has subject matter jurisdiction in this

declaratory action in order to determine Dugle’s contractual rights as the contract relates

to federal law.

       Pursuant to 28 U.S.C. § 1331, district courts have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United States. See City of

Chicago v. Comcast Cable Holdings, L.L.C., 384 F.3d 901, 904 (7th Cir. 2004). Plaintiff

Dugle is correct, in that this Court has wide discretion to issue declaratory judgments;

however, jurisdiction, including subject matter jurisdiction, must be present in order for

Dugle to seek relief under the Declaratory Judgment Act, because the Act does not

provide a new or substitute basis for subject matter jurisdiction. See Nationwide Ins. v.

Zavalis, 52 F.3d 689, 691-92 (7th Cir 1995) (citations omitted) (holding that the statute

does not dispense with the Article III case or controversy requirement, nor does it supply

the court with subject matter jurisdiction; but, when the jurisdictional prerequisites are

satisfied, the district court is not compelled to declare the rights and relations of the

parties).




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       Here, the alleged contract for Dugle’s sale of stock to a non-party, Mr. Shah, and

the alleged demand on the Duro Defendants to transfer the stock is purely governed by

state law. Duro has admitted that it is concerned that the alleged contract may violate

both state law and possibly federal law; however, this is merely an anticipated defense of

Duro’s, not a proper basis for this Court’s subject matter jurisdiction. See Luisville &

Nashiville Railroad Co. v. Mottley, 211 U.S. 149 (1908) (holding that anticipation of a

federal defense may not be used to invoke this court’s general federal question

jurisdiction); Skelly Oil Company, 339 U.S. at 673-74 (applying Motley’s rule in the

context of a declaratory judgment action).

       Further, Turner/Ozanne v. Hymann/Power, 111 F.3d 1312 (7th Cir. 1997) does not

help Dugle here. In Turner/Ozanne, one of the parties to the contract was the United

States Post Office, the subject matter of that contract was a federal construction project,

and the corpus of the dispute was the indemnity provision the government negotiated with

its contractor, which were all cited by the court in electing to grant subject matter

jurisdiction because of the federal questions raised. Turner/Ozanne, 111 F.3d at 1318.

Additionally, Turner/Ozanne qualified for diversity jurisdiction under 28 U.S.C. § 1332.

Id. Here, the contractual dispute is between and among state residents and involves the

ownership in an Indiana corporation. The only allegation of a federal question relates to

Dugle’s anticipation of one of Duro’s defenses, as it relates to the Clayton Act. Dugle’s

claims are far to attenuated from federal law, to be said to arrise under the same.



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       Furthermore, this is not a case where the only issue to be decided is a question of

whether federal law permits the sale and transfer of the stock, but the complaint presents

many reasons completely unrelated to the provisions and purposes of the Clayton Act as

to why Dugle may or may not be entitled to the relief he seeks. See Franchise Tax Board

of the State of California v. Construction Laborers Vacation Trust for Southern

California, 463 U.S. 1, 25-26 (1983); Fort Wayne Community Schools, 735 F.Supp. at

911. The anticipated defense relating to anti-competitive acquisitions of stock under the

Clayton Act does not provide this Court with subject matter jurisdiction to adjudicate the

dispute. Moreover, this is not one of those instances where federal question jurisdiction

is present due to federal law occupying the field making it impossible even to frame a

claim under state law. See, Vorhees, 272 F.3d at 402-04. In fact, Plaintiff Dugle has not

refuted this point. There simply is no federal question jurisdiction here.

       Because Plaintiff Dugle has failed to establish the jurisdiction requirements, this

Court is without subject matter jurisdiction which makes relief from this Court

impossible. Therefore, dismissal of Dugle’s claim under Fed. R. Civ. P. 12(b)(1) is the

appropriate disposition.

                                     IV. Conclusion

       Based on the foregoing analysis, Defendants, Duro, Inc., Duro Recycling, Inc.,

Duro Reality, Inc., and Duro Transport, Inc.’s Amended Motion to Dismiss (Docket No.

46) is GRANTED. The Clerk of the Court is ordered to dismiss Plaintiff Timothy



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Dugle’s “Complaint for Declaratory Relief” (Docket No. 1) without prejudice.

SO ORDERED.

DATED: April 5, 2007


                                                S/ ALLEN SHARP
                                        ALLEN SHARP, JUDGE
                                        UNITED STATES DISTRICT COURT




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